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     the California Civil Rights Department
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12                                IN THE UNITED STATES DISTRICT COURT

13                             FOR THE EASTERN DISTRICT OF CALIFORNIA

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     HINDU AMERICAN FOUNDATION, INC.,                              2:22-CV-01656-DAD-JDP
17   a Florida Not-For-Profit Corporation;
     SAMIR KALRA; MIHIR MEGHANI;                                   DECLARATION OF CARLY J.
18   SANGEETHA SHANKAR; DILIP AMIN,                                MUNSON IN SUPPORT OF
     SUNDAR IYER, RAMANA KOMPELLA                                  DEFENDANT’S MOTION TO DISMISS
19   as individuals; and DOE PLAINTIFFS ONE                        FIRST AMENDED COMPLAINT AND
     TO THREE,                                                     CORRESPONDING REQUEST FOR
20                                                                 JUDICIAL NOTICE
                                                  Plaintiff,
21
                      v.
22                                                                 Date:        August 20, 2024
                                                                   Time:        1:30 p.m.
23   KEVIN KISH, an individual, in his official                    Judge:       Hon. Dale A. Drozd
     capacity as Director of the California Civil
24   Rights Department; and DOES 1-50,                             Action Filed: September 20, 2022
     inclusive,                                                    First Am. Compl Filed: September 21, 2023
25
                                              Defendants.
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      Decl. of Carly J. Munson in Support of Mot. to Dismiss First Am. Compl. & Corresponding Req. for Judicial Notice
                                                (2:22-CV-01656-DAD-JDP)
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 1   I, Carly J. Munson, declare as follows:

 2          1.     I am an attorney admitted to practice before the courts of the State of California and

 3   before this Court. I am a Deputy Attorney General with the Office of the Attorney General,

 4   which represents Defendant Kevin Kish in his official capacity as the Director of the California

 5   Civil Rights Department (the “Department”) in the above-captioned matter.

 6          2.     I make this declaration in support of Director Kish’s Motion to Dismiss First

 7   Amended Complaint Pursuant to Younger Abstention Doctrine, Rule 12(b)(1), and Rule 12(b)(6)

 8   and his corresponding Request for Judicial Notice in Support of Motion to Dismiss First

 9   Amended Complaint. If called as a witness, I would and could competently testify to the facts

10   stated herein, all of which are within my personal knowledge.

11          3.     Plaintiffs filed their First Amended Complaint in the above-captioned matter on or

12   around September 21, 2023. (ECF No. 21).

13          4.     This case relates to an ongoing matter pending before the California Superior Court

14   for the County of Santa Clara, CRD v. Cisco Systems, Inc., Case No. 20-cv-372366. (See, e.g.,

15   ECF No. 21 ¶ 58). Plaintiffs have attached a copy of the Department’s original complaint in that

16   matter, which was filed in October 2020, to their First Amended Complaint as Exhibit A. (ECF

17   No. 21 at 37-56).

18          5.      On December 12, 2023, I spoke with Tim Travelstead, counsel of record for the

19   Hindu American Foundation (HAF) in the above-captioned matter by videoconference and

20   informed him that my client planned to file a motion to dismiss under the Younger abstention

21   doctrine and Rule 12(b). We discussed the bases for the Department’s motion and developments

22   in the related state court matter for approximately 45 minutes.

23          6.     Due to ongoing developments in the related state court matter that had the potential to

24   materially affect Director Kish’s response to, and this Court’s consideration of, Plaintiffs’ First

25   Amended Complaint (ECF No. 21) and Motion to Proceed Under Pseudonyms (ECF No. 24),

26   thereafter the parties jointly sought several extensions of time for Director Kish to respond to

27   Plaintiffs’ filings. (See ECF Nos. 29, 31, 33).

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 1          7.     On January 30, 2024, I spoke with Mr. Travelstead again by phone regarding Director

 2   Kish’s anticipated motion to dismiss.

 3          8.     On May 1, 7, 9, 13, and 15, 2024, I communicated with Mr. Travelstead by email

 4   regarding Director Kish’s anticipated motion to dismiss.

 5          9.     On May 16 and 17, 2024, my colleague, Deputy Attorney General Jennifer A.

 6   Soliman, and I met and conferred with Mr. Travelstead again by videoconference for a total of

 7   approximately two hours regarding the substance of the motion now presented to the Court.

 8   Specifically, we discussed our respective positions with regard to the Younger abstention

 9   doctrine, Plaintiffs’ standing to bring the instant lawsuit under Rule 12(b)(1), the mootness of

10   Plaintiffs Iyer’s and Kompella’s Equal Protection Clause claims under Rule 12(b)(1), and the

11   viability of Plaintiffs’ five claims under Rule 12(b)(6). At the conclusion of our discussions, we

12   agreed that we could not resolve our differences regarding the legal grounds asserted in the

13   instant motion to dismiss without the Court’s assistance.

14          10.    The Department has amended its complaint in CRD v. Cisco Systems, Inc. twice since

15   October 2020. The operative complaint in CRD v. Cisco Systems, Inc. is now the Second

16   Amended Complaint. The only remaining defendant, Cisco, filed its answer to the Second

17   Amended Complaint on April 26, 2024. A true and correct copy of the Department’s Motion for

18   Leave to Amend First Amended Complaint and File Second Amended Complaint, which was

19   filed on December 11, 2023, is attached hereto as Exhibit A. A true and correct copy of the

20   Superior Court’s order granting the Department’s motion, which was issued on March 15, 2024,

21   is attached hereto as Exhibit B. A true and correct copy of the Department’s operative Second

22   Amended Complaint, which was filed on March 18, 2024, is attached hereto as Exhibit C.

23          11.    Plaintiff HAF moved to intervene in the Department’s pending lawsuit against Cisco

24   in Santa Clara County Superior Court. This Court has previously taken judicial notice of HAF’s

25   Motion to Intervene and [Proposed] Complaint in Intervention, which were filed on or around

26   January 7, 2021. (See ECF Nos. 10-1, Exh. B & 20). A true and correct copy of HAF’s Reply in

27   Support of HAF’s Motion for Leave to Intervene, which was filed on November 6, 2023, is

28   attached hereto as Exhibit D.
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      Decl. of Carly J. Munson in Support of Mot. to Dismiss First Am. Compl. & Corresponding Req. for Judicial Notice
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 1          12.    The Santa Clara County Superior Court denied HAF’s Motion for Leave to Intervene.

 2   A true and correct copy of the Superior Court’s order denying HAF’s motion, which was issued

 3   on January 31, 2024, is attached hereto as Exhibit E.

 4          13.    HAF filed a notice that it would appeal the Superior Court’s order denying it leave to

 5   intervene. A true and correct copy of HAF’s Notice of Appeal, which was filed on March 29,

 6   2024, is attached hereto as Exhibit F. Thereafter, HAF abandoned its appeal. A true and correct

 7   copy of HAF’s Abandonment of Appeal, which was filed on May 1, 2024, is attached hereto as

 8   Exhibit G.

 9          14.    In its October 2020 complaint against Cisco, the Department brought claims against

10   two of Cisco’s supervisors, Sundar Iyer and Ramana Kompella, under the FEHA. (See ECF No.

11   21 at 37-56). The Department has since dismissed its claims against Mr. Iyer and Mr. Kompella

12   with prejudice. A true and correct copy of the Department’s Request for Dismissal of Mr. Iyer

13   and Mr. Kompella, which was filed on April 6, 2023, is attached hereto as Exhibit H. A true and

14   correct copy of the corresponding Notice of Entry of Dismissal and Proof of Service, which was

15   filed on April 11, 2023, is attached hereto as Exhibit I.

16          I declare under penalty of perjury under the laws of the United States of America that the

17   foregoing is true and correct, and this declaration was executed at Sacramento, California this

18   20th day of May, 2024.

19                                                                 /s/ Carly J. Munson______________
                                                                   CARLY J. MUNSON
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